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           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                Sub-Master Docket No. 17-9001L

                                     (Filed: February 1, 2018)


 IN RE UPSTREAM ADDICKS AND
 BARKER (TEXAS) FLOOD-
 CONTROL RESERVOIRS



 THIS ORDER RELATES TO:

 ALL UPSTREAM CASES




                               CASE MANAGEMENT ORDER

        Pending before the court are competing proposed Case Management Orders, ECF Nos.
24 and 25-1, both filed January 26, 2018. To resolve the differences in the proposed orders, a
hearing was held on January 30, 2018. Taking into account the results of that hearing, and for
good cause shown, the court adopts the following directions for the management of the upstream
cases through the initial jurisdictional phase of proceedings:

        1.      This Order applies to all cases presently and subsequently filed in this court that
are identified as upstream cases in In re Upstream Addicks and Barker (Texas) Flooded-Control
Reservoirs, Sub-Master Docket No. 17-9001L. This Order is intended to supplement, and not to
replace, the court’s prior Management Orders entered in Master Docket No. 17-3000L.1

       2.      Two master complaints have been filed for the upstream cases, viz., a Master
Amended Complaint for Upstream Plaintiffs, ECF No. 18, and an Amended Individual Upstream
Master Complaint, ECF No. 17. Both were filed on January 16, 2018. The filing of a single
answer, or other responsive pleading, to the Master Amended Complaint for Upstream Plaintiffs
by the United States shall serve as an answer to the common legal and factual issues contained in
the two Master Complaints. The United States’ obligation to answer or otherwise respond to the

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         See Management Order No. 1 (Oct. 31, 2017) (establishing the Master Docket), ECF
No. 1; Management Order No. 2 (Dec. 5, 2017) (establishing the Sub-Master Docket for
Upstream Claims), ECF No. 103); Management Order No. 4 (Dec. 21, 2017) (assigning a judge
to the Sub-Master Docket for Upstream Claims).

      The term “Upstream Lead Counsel” means counsel appointed as Upstream “Co-Lead
Counsel” and “Of Counsel” in the Order of Nov. 20, 2017, ECF No. 68, in Master Docket 17-
3000.
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Amended Individual Upstream Master Complaint is suspended until further order of the court.
The United States’ obligation to file answers, motions to dismiss pursuant to Rule 12 of the
Rules of the Court of Federal Claims (“RCFC”), or other responsive pleadings to complaints
other than the Master Amended Complaint for Upstream Plaintiffs shall be suspended pending
further order of the court.

        3.      All complaints other than the Master Amended Complaint for Upstream
Plaintiffs, whether pre-existing or hereafter filed are administratively stayed pending further
order of the court, except for providing Test-Property Selection Information as per paragraph 5
infra. Plaintiffs in these stayed actions are relieved of the responsibility to: (i) provide initial
disclosures pursuant to RCFC 26(a)(1); (ii) respond to the United States’ motions for more
definite statement; and (iii) respond to the United States’ motions to dismiss pursuant to RCFC
12. The claims of any plaintiffs later added to the Master Amended Complaint for Upstream
Plaintiffs by amendment are not stayed, and such plaintiffs must meet any discovery and other
obligations under the Rules of the Court of Federal Claims, including providing initial
disclosures and responding to subsequent discovery requests.

        4.     By January 30, 2018, Upstream Co-Lead Counsel shall have served on the United
States a spreadsheet containing the following Test-Property Selection Information for the
plaintiffs named in the Master Amended Complaint for Upstream Plaintiffs and in the Amended
Individual Upstream Master Complaint:

               a. Name of Plaintiff(s);
               b. Address of Plaintiff(s)’ real property that allegedly flooded as a result of the
                  U.S. Army Corps of Engineers’ Operations of the Addicks and Barker Dams
                  and Reservoirs (“hereinafter the “Property”);
               c. County Property Parcel Identification Number;
               d. If known, the date, timing, and extent/amount of Property Flooding during
                  Tropical Storm Harvey;
               e. If known, the date and extent of previous Property flooding (if any);
               f. As of August 24, 2017, whether the Property was located in the 100-year
                  flood zone; the 500-year flood zone; or no known flood zone;
               g. When the Property was purchased or leased;
               h. The elevation of the property, including the source and date of the information
                  used to determine the elevation;
               i. The nature of Property interest (e.g. residential, commercial, industrial, owner,
                  renter);
               j. Is the Property currently listed on MLS for sale;
               k. Has the Property been sold since Hurricane Harvey; and
               l. Was there flood insurance for the Property during Hurricane Harvey.

        5.     A manageable number of bellwether properties shall be identified and designated
as Test Properties, such that they might provide a factual basis for disposition of jurisdictional
issues, and potentially of fundamental liability issues, in these upstream cases. To that end,




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               a. By 4:00 p.m. CST on February 2, 2018, in furtherance of the Parties’ ongoing
                  efforts to select Test Properties by agreement, Upstream Co-Lead Counsel
                  shall serve on the United States a list of ten properties (and plaintiffs)
                  proposed as Test Properties by Upstream Co-Lead Counsel.
               b. By 5:00 p.m. EST on February 14, 2018, the United States shall serve on
                  Upstream Co-Lead Counsel a list of not more than 45 additional properties
                  that shall be candidates for designation as Test Properties.
               c. By 4:00 p.m. CST on February 20, 2018, Upstream Co-Lead Counsel shall
                  respond to the United States’ listing of additional candidates, providing
                  among other things Test Property selection information as shown in paragraph
                  4, supra.
               d. Thereafter, Upstream Co-Lead Counsel and counsel for the United States shall
                  confer regarding the selection of Test Properties and shall endeavor to
                  designate not more than fifteen such properties by a joint notice filed with the
                  court on or before February 28, 2018.

        6.      Each plaintiff who owns or leases a designated Test Property shall provide a
completed and signed version of the Fact Sheet attached as Attachment A, consistent with the
requirements of RCFC 33(b)(5), within 30 days of submission of the spreadsheet identified in
paragraph 4, supra. For any plaintiff, the answers and commentary their signed Fact Sheet shall
be treated as answers to interrogatories and, as provided in RCFC 33(c), can be used to the extent
allowed by the Federal Rules of Evidence.


        7.      Upstream Co-Lead Counsel and counsel for the United States shall meet and
confer for the purpose of drafting mutually-agreeable Short Form Complaints adopting the
Master Amended Complaint for Upstream Plaintiffs. On or before February 8, 2018, Upstream
Co-Lead Counsel and counsel for the United States shall provide the Court with either: (i) an
agreed proposed Short Form Complaint(s); or (ii) their respective proposed Short Form
complaint(s).

      8.      Once accepted procedurally by the Court, presently- and subsequently-filed cases
may adopt the Master Amended Complaint for Upstream Plaintiffs by filing a Short Form
Complaint in In re Upstream Addicks and Barker (Texas) Flood-Control Reservoirs, Sub-Master
Docket No. 17-9001L. Nothing in this Order shall prevent an attorney from filing a single Short-
Form Complaint on behalf of multiple plaintiffs.

        9.     The United States need not answer any complaint or newly-filed complaint other
than the Master Amended Complaint for Upstream Plaintiffs, or specifically respond to any
claim not asserted in that Master Complaint, until further order of the court.

      10.     The United States’ responsive filings under RCFC 12, including any answers or
motions to dismiss, shall apply equally to any complaint adopting the allegations of the Master
Amended Complaint for Upstream Plaintiffs.




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         11.    Co-Lead Counsel shall facilitate, coordinate, and effect all communications with
the United States on behalf of all plaintiffs in this consolidated action, all pro se plaintiffs in this
consolidated action, and all attorneys who have not been designated as Co-Lead Counsel in this
consolidated action. Attorneys who have not been designated Co-Lead Counsel are directed to
communicate with Co-Lead Counsel, and not the United States or the Court, concerning
discovery, case management, scheduling, and all other case-related matters. In the event that an
attorney who has not been designated Co-Lead Counsel seeks to submit a motion or any other
filing to the Court, such attorney must first request and obtain leave from the Court.

        12.     All discovery on behalf of plaintiffs in this consolidated action must be served by
Upstream Co-Lead Counsel on the United States’ attorney-of-record. Upstream Co-Lead
Counsel shall provide, facilitate, or coordinate the use of translators, if necessary, and shall be
entitled to recover reasonable fees as approved by the Court for such translators. All discovery
on behalf of the United States in this consolidated action shall be served on Upstream Co-Lead
Counsel.

       13.     Service upon Upstream Co-Lead Counsel is accomplished by serving each of the
following via electronic mail, file sharing link, and/or United Sates Mail:

                        Armi Easterby at aeasterby@williamskherkher.com
                        Daniel Charest at dcharest@burnscharest.com
                        Ian Heath Gershengorn at IGsershengorn@jenner.com
                        Charles Irvine at charles@irvineconner.com
                        Larry Vincent at lvincent@burnscharest.com
                        Vuk Vujasinovic at vuk@vbattorneys.com

       14.     All requests for discovery, including, but not limited to, interrogatories and
requests for production, should, to the extent possible, be jointly submitted from upstream and
downstream Co-Lead Counsel to avoid duplicative requests of documents, streamline the
response process, and ensure upstream and downstream Co-Lead Counsel receive the same
information. Upstream Co-Lead Counsel will coordinate and serve upon the United States
responses to any discovery requests served by the United States.

        15.     Plaintiffs’ Co-Lead Counsel shall cross-notice all depositions in both the 17-
9001L and 17-9002L Sub-Master Dockets, and, to the extent practicable and consistent with
their respective duties as Co-Lead Counsel, and as attorneys representing plaintiffs, coordinate
the conduct of depositions among upstream and downstream Co-Lead Counsel so to avoid
duplicate examination.

        16.      In any case filed and consolidated into this Sub-Master Docket after entry of this
Order, Upstream Co-Lead Counsel shall provide a copy of this Order to the attorney representing
the plaintiff(s) or, the plaintiff(s) if such plaintiff(s) are proceeding pro se.




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It is so ORDERED.



                                   s/ Charles F. Lettow
                                   Charles F. Lettow
                                   Judge




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                                                              ATTACHMENT A
          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                     Sub-Master Docket No. 17-9001L



IN RE UPSTREAM ADDICKS AND
BARKER (TEXAS) FLOOD-
CONTROL RESERVOIRS



THIS DOCUMENT RELATES TO:

ALL UPSTREAM CASES


                                                   FACT SHEET
COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

1.       Name of Plaintiff(s):

2.       Address of Plaintiff(s)’ real property that allegedly flooded as a result of the U.S. Army Corps

         of Engineers’ operations of the Addicks and Barker Dams and Reservoirs (hereinafter the

         “Property”):



3.       Location of any personal or other property allegedly taken as a result of the U.S. Army Corps of

         Engineers’ operations of the Addicks and Barker Dams and Reservoir, if present at a place

         other than at the real property identified in paragraph 2 above:




4.       County Property Parcel Identification number1:

1 County Property Parcel Identification Numbers are available at   Fort Bend Central Appraisal District, http://fbcad.org
and Harris County Appraisal District, http://hcad.org.
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5.       If known, describe the date, timing, and extent/amount of Property flooding during

         Hurricane Harvey (i.e. how deep was the water over time, and how much, and what

         parts of your property did it cover):




6.       If known, describe the date and extent of previous Property flooding (if any):




7.       As of August 24, 2017, was the Property located in: the 100-year floodplain          ; the

         500- year floodplain           ; no known floodplain             .

8.       When was the Property purchased or leased by you, or do you have some other type

         of property interest



9.       What is the elevation of the Property according to this website2?


10.      Do you have additional information regarding the elevation of the Property (e.g.,

         measurements taken for insurance purposes or a floodplain certificate)? If so, please

         provide the source and date of the information used to determine the elevation.



11.      Nature of Property interest (check all that apply): residential               ;

         commercial         ; industrial      _; owner        ; renter                 .




2 Elevation information is available at Google Map Developers, Elevation Calculator,

https://www.mapdevelopers.com/elevation_calculator.php.
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12.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):




13.     Is the Property currently listed on MLS for sale?



14.     Has the Property been sold since Hurricane Harvey?


15.     Was there flood insurance for the Property during Hurricane Harvey? Yes___ No ___



Plaintiff(s) Name:



Date:




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